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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

WOODHULL FREEDOM FOUNDATION, et al.,                     )
                                                         )
                  Plaintiffs,                            )
                                                         )
       v.                                                )     Case No. 1:18-cv-1552-RJL
                                                         )
THE UNITED STATES OF AMERICA, et al.,                    )
                                                         )
                  Defendants.                            )

                NOTICE OF FILING EXHIBIT TO LEVY DECLARATION

       Please take note that undersigned counsel hereby files with the Court Exhibit 1 to the

Ricci Levy Declaration, Dkt. # 5-2, which was inadvertently omitted from the initial filing of the

her Declaration in Support of the Motion for Preliminary Injunction [Dkt. 5].

DATED: July 2, 2018

                                                    Respectfully submitted,

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